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                                        No. 24-1590


                       UNITED STATES COURT OF APPEALS
                            FOR THE FIRST CIRCUIT


                                    CROSSPOINT CHURCH
                                                                     Plaintiff-Appellant,
                                             V.


      A. PENDER MAKIN, IN HER OFFICIAL CAPACITY AS COMMISSIONER
           OF THE MAINE DEPARTMENT OF EDUCATION; JEFFERSON ASHBY, IN HIS
      OFFICIAL CAPACITY AS COMMISSIONER OF THE MAINE HUMAN RIGHTS COMMISSION;
       EDWARD DAVID, IN HIS OFFICIAL CAPACITY AS COMMISSIONER OF THE MAINE
       HUMAN RIGHTS COMMISSION; JULIE ANN O’BRIEN, IN HER OFFICIAL CAPACITY
      AS COMMISSIONER OF THE MAINE HUMAN RIGHTS COMMISSION; MARK WALKER,
          IN HIS OFFICIAL CAPACITY AS COMMISSIONER OF THE MAINE HUMAN RIGHTS
             COMMISSION; THOMAS L. DOUGLAS, IN HIS OFFICIAL CAPACITY AS
                  COMMISSIONER OF THE MAINE HUMAN RIGHTS COMMISSION,
                                                             Defendants-Appellees.


                Appeal from the U.S. District Court for the District of Maine,
                  Case No. 1:23-cv-00146; Hon. John A. Woodcock, Jr.


         BRIEF OF AMICI CURIAE PUBLIC FUNDS PUBLIC SCHOOLS,
         NATIONAL EDUCATION ASSOCIATION, NATIONAL SCHOOL
       BOARDS ASSOCIATION, AMERICAN FEDERATION OF TEACHERS,
           IN THE PUBLIC INTEREST, FREEDOM FROM RELIGION
         FOUNDATION, AMERICAN ATHEISTS, COUNCIL OF PARENT
           ATTORNEYS AND ADVOCATES, NETWORK FOR PUBLIC
       EDUCATION, PASTORS FOR CHILDREN, AND DISABILITY RIGHTS
      MAINE, SUPPORTING DEFENDANTS-APPELLEES AND AFFIRMANCE
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       ADAM J. HUNT                          JENNY XIN
       TAMARA WIESEBRON                      JUSTIN KAREEM REZKALLA
       MORRISON & FOERSTER LLP               MORRISON & FOERSTER LLP
       250 West 55th Street                  425 Market Street
       New York, NY 10019-9601               San Francisco, CA 94105
       Tel.: (212) 468-8000                  Tel.: (415) 268-7000
       AdamHunt@mofo.com                     JXin@mofo.com
       TWiesebron@mofo.com                   JRezkalla@mofo.com

                                             Counsel of Record for Amici Curiae



       JESSICA LEVIN
       WENDY LECKER
       EDUCATION LAW CENTER
       60 Park Place, Suite 3000
       Newark, NJ 07102
       Tel: (203) 536-7567
       JLevin@edlawcenter.org
       WLecker@edlawcenter.org
                                             Counsel of Record for Public Funds
                                             Public Schools
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                       CORPORATE DISCLOSURE STATEMENT

            Pursuant to Federal Rules of Appellate Procedure 26.1 and 29(a)(4)(A), Amici

      state that they have no parent corporations and do not issue stock.



      DATED:       October 30, 2024              Respectfully submitted,


                                                 By: /s/ Adam J. Hunt
                                                    Adam J. Hunt
                                                    250 West 55th Street
                                                    New York, NY 10019-9601
                                                    Telephone: 212.468.8000
                                                    Facsimile:    212.468.7900
                                                    AdamHunt@mofo.com

                                                     Counsel of Record for Amici Curiae




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                     IDENTITY AND INTEREST OF AMICI CURIAE1

             Amici curiae Public Funds Public Schools, the National Education

       Association, the American Federation of Teachers, the National School Boards

       Association, American Atheists, the Council of Parent Attorneys and Advocates,

       Disability Rights Maine, the Freedom From Religion Foundation, In the Public

       Interest, the Network for Public Education, and Pastors for Children are committed

       to ensuring that public education remains the cornerstone of our nation’s social,

       economic, and political structure, and that children of all backgrounds have the right

       to a public education that gives them a meaningful opportunity to succeed in school

       and in life, free from discrimination. Detailed statements of interest for each of the

       Amici are set forth in Appendix A.

             All parties have consented to the filing of this brief.




       1
        No party or its counsel had any role in authoring this brief. No person or entity—
       other than Amicus Curiae and its counsel—contributed money that was intended to
       fund preparing or submitting this brief.

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                                 SUMMARY OF ARGUMENT

             Appellant is asking this Court to sanction unlawful discrimination by

       requiring the State to reward it with public funds, even as it denies educational

       opportunities to children based on their sexual orientation, gender identity, or

       religion. Maine’s Constitution explicitly articulates the State’s “duty” to provide

       children access to a free public education. Me. Const. art. VIII, pt. 1, § 1 (2023). As

       a natural extension of this duty, public education in Maine—whether provided in

       public schools or through the “town tuitioning” program—has historically been

       subject to neutral, generally applicable education standards that further the State’s

       objective of providing quality education for all students, free from inequality or

       disparate treatment. The Maine Human Rights Act (“MHRA”) sets forth one such

       standard, establishing requirements to ensure that all students have the opportunity

       to participate in publicly funded educational programs free from discrimination

       based on sex, sexual orientation, gender identity, religion, disability, or race.

             Appellant Crosspoint Church and its affiliated non-denominational Christian

       school (Bangor Christian School, hereafter “BCS”) have brought a pre-enforcement

       action seeking to be excused from compliance with the MHRA’s antidiscriminatory

       requirements, claiming that these requirements may impact their free exercise of

       religion, including policies stating they will not serve students of certain sexual

       orientations, gender identities, and religious beliefs.



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             The MHRA is vital to preserving the benefits of public education for all Maine

       children, particularly those in rural areas who only have access to a state-funded

       education at private institutions approved to receive funds through town tuitioning.

       Antidiscrimination laws enable the State to remove obstacles—such as bullying,

       harassment, and unfair discipline—that often prevent the most vulnerable students

       from accessing their right to education. Moreover, these protections promote

       democratic values that are a fundamental goal of public education in Maine.

       Absolving town tuitioning schools from antidiscrimination requirements would

       gravely harm Maine’s students and violate their core education rights under Maine’s

       constitution. Moreover, it would undermine the ability of the State to enforce laws

       protecting the civil rights of its citizens and would threaten a host of government-

       funded programs, scores of which contain similar nondiscrimination requirements.

       If religious entities have an unconditional right to public funds free of any neutral,

       generally applicable rules the government may impose, many such programs will

       become untenable.

             Maine’s policy conditioning receipt of public tuition funds on compliance

       with the MHRA’s antidiscrimination provisions, set forth in Title 5, section 4601 of

       the Maine Statutes, is constitutional.2 The MHRA’s antidiscrimination provisions


       2
         In Carson v. Makin, the Supreme Court held that Maine’s non-sectarian
       requirement for its town tuitioning program violated the Free Exercise Clause of the


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       pass constitutional muster because they are neutral and generally applicable, and

       therefore subject to rational basis review. But even if this Court applies a strict

       scrutiny standard, the MHRA’s antidiscrimination provisions should be upheld.

       Maine’s interests are compelling because states have a strong interest in eliminating

       discrimination in public education programs and ensuring that publicly funded

       institutions do not discriminate.     Moreover, the MHRA’s antidiscrimination

       provisions are narrowly tailored, as they are written to solely encompass

       discriminatory conduct and, critically, do not apply to religious schools that do not

       accept public funds.

                                          ARGUMENT
             I.     The State’s Core Education Goals Can Only Be Met in
                    Nondiscriminatory Schools
             Providing education is “perhaps the most important function of state and local

       governments.” Brown v. Bd. of Educ., 347 U.S. 483, 493 (1954). Since its inception,

       the Maine Constitution has deemed “[the] general diffusion of the advantages of

       education [to be] essential to the preservation of the rights and liberties of the




       First Amendment. 596 U.S. 767, 789 (2022). But the Maine Supreme Court has not
       had an opportunity to interpret the MHRA as it applies to the updated town tuitioning
       program, with religious schools now. As such, Amici argue that the First Circuit
       cannot rule on these claims without certifying a question to the Maine Supreme
       Court as to the scope and applicability of the MHRA to private religious schools.
       Amici’s arguments in this brief apply to the extent that this Court considers these
       claims now.

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       people,” requiring that every town “support and maint[ain] [] public schools” such

       that every child in Maine may receive the benefits of a public education. Me. Const.

       art. VIII (1820); Maine Const. art. VIII, pt. 1, § 1 (2023); see also Thornton Acad.

       v. Reg’l Sch. Unit 21, 2019 ME 115, ¶ 6, 212 A.3d 340, 342 (“By constitutional and

       statutory mandate, every municipality in Maine must provide for a free public

       education from kindergarten through grade twelve for all children whose parents

       reside in that municipality.”).

             Because of its rural nature, Maine has historically met its constitutional

       obligation to provide education in some areas through its town tuitioning program.

       In some circumstances, the program allows school-age children who reside in a

       municipality that does not operate its own schools to attend a public school in

       another district or a private school, funded with public education dollars. P.L. 1873,

       ch. 124, § 4 (available at https://bit.ly/2ZnLudY). To ensure that the program

       achieves its educational ends, Maine requires private schools that receive public

       tuitioning funds to comply with certain neutral and generally applicable education

       standards that further Maine’s goal of ensuring every student has the opportunity to

       receive a high-quality education and that public funds are not used to facilitate state-

       sanctioned discrimination against Maine’s students.

             Appellant asks to be absolved from MHRA’s antidiscrimination requirements

       so that its schools may both receive public funds and expressly discriminate against


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       children and families.       The Court cannot rule in Appellant’s favor without

       jeopardizing scores of civil rights laws, as well as the basic and undisputed ability

       for state governments to place neutral and generally applicable conditions on

       publicly funded programs. If Maine is not permitted to regulate its town tuitioning

       program by placing neutral and generally applicable conditions on the receipt of

       public funds, it is questionable whether Maine can continue to operate the program

       at all.

                 A.     In Some Districts, Maine Fulfills its Duty to Provide Education
                        Through Private “Town Tuitioning” Schools, Which Are Subject
                        to Neutral, Generally Applicable Education Standards.

                 For geographic and historical reasons, many school districts in Maine do not

       operate their own public schools. Maine launched its town tuitioning program in

       1873, pursuant to which School Administrative Units (“SAUs”) without a local

       public school could use public funds to subsidize resident students’ tuition at an

       approved private school of the parent’s choice. P.L. 1873, ch. 124, § 4 (available at

       https://bit.ly/2ZnLudY).

                 Maine has long required private K-12 schools to comply with neutral and

       generally applicable requirements in order to receive the public funds made available

       through town tuitioning. For instance, private schools adhere to health and safety

       laws, teacher certification requirements, class size limits, curriculum guidelines, and

       other requirements governing the quality of education. See 20-A M.R.S. §§ 2901(2),



                                                   6
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       2902, 4704, 6209. These requirements do not target religious practices, nor are they

       motivated by religious animus.

             The MHRA’s antidiscrimination provisions are no different. Maine’s system

       of public education operates from the core value that “every student deserves a safe

       and equitable school environment.” 3 Accordingly, Maine schools have been

       required to comply with the MHRA since the Act was expanded to prohibit

       discrimination in education in 1987. P.L. 1987, ch. 578, § 3. Since then, the MHRA

       has guaranteed students the opportunity to participate in all educational programs

       without discrimination because of sex, sexual orientation, physical or mental

       disability, national origin, or race. 4 P.L. ch. 366, Laws of the State of Maine, 130th

       Legislature, 5 M.R.S. § 4601.5 In 2021, the Maine Legislature amended the MHRA

       to add explicit protections for students of different “gender identit[ies],”

       “ancestr[ies],” “color[s],” and “religions.” Id.; 5 M.R.S. § 4601. This was not a

       one-off amendment: Maine regularly updates the MHRA as it becomes aware of



       3
         Me. Dep’t of Educ., LGBTQ+ Resources (2020), https://bit.ly/3AIyuMI (last
       visited Oct. 29, 2024) (emphasis added).
       4
         Though the MHRA amendments on gender identity were codified in 2021, Maine
       has long been committed to protecting different gender identities. The definition of
       “sexual orientation” that was added to the MHRA in 2005 included gender identity.
       See Ord. re: Mot. for Prelim. Inj., ECF No. 41 at 36 (citing P.L. 2005, ch. 10)
       (“‘Sexual orientation’ means a person’s actual or perceived heterosexuality,
       bisexuality, homosexuality or gender identity or expression”).
       5
         Available at
       https://lldc.mainelegislature.org/Open/Laws/2021/2021_PL_c366.pdf.

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       specific needs. 6   Moreover, the MHRA’s provisions concerning “educational

       institution[s]” include “any public school or educational program,” including those

       that are private but are “approved for tuition purposes,” whether they are affiliated

       with a religious organization or not.7 5 M.R.S. § 4553(2-A). Thus, these neutral

       and generally applicable civil rights requirements apply to all Maine K-12 schools

       that participate in the tuitioning program, ensuring that all Maine students can

       receive a publicly funded education free from discrimination. 8

             B.     Requiring Maine to Fund Discrimination Defeats the Purpose of
                    Maine’s Tuitioning Program and Harms Maine’s Children
             The State’s obligation to provide public education is one of its most

       fundamental responsibilities. Maine Const. art. VIII, pt. 1, § 1 (2023). As the U.S.


       6
         In 2022, Maine amended the MHRA to clarify that discriminating based on traits
       associated with particular races, such as hairstyles, constitutes race discrimination
       under the Act. ME LEGIS 643 (2022), 2022 Me. Legis. Serv. Ch. 643 (S.P. 237)
       (L.D. 598) (WEST). And in 2023, Maine altered its definition of “educational
       institution” to include single-sex private schools approved for tuition purposes. See
       ME LEGIS 188 (2023), 2023 Me. Legis. Serv. Ch. 188 (H.P. 1165) (L.D. 1833)
       (WEST).
       7
         Prior to 2021, religious schools received an exemption from antidiscrimination
       requirements pertaining to sexual orientation. The 2021 amendment to the MHRA
       revoked this exemption for schools receiving public funding. P.L. ch. 366, available
       at https://lldc.mainelegislature.org/Open/Laws/2021/2021_PL_c366.pdf; Ord. re:
       Mot. for Prelim. Inj., ECF No. 41 at 35-36.
       8
         The MHRA provisions are generally applicable even if they do not apply to schools
       outside Maine or to private in-state postsecondary schools. As Appellees argue in
       their brief, Maine has no jurisdiction to regulate conduct outside of its borders, and
       post-secondary education is not similarly situated to primary and secondary schools.
       Appellees’ Br. at 23-24, 43-44. More importantly, the MHRA applies equally to
       religious and non-religious schools. Id.

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       Supreme Court has acknowledged, education is the gateway to participating fully in

       our democracy. See Wisconsin v. Yoder, 406 U.S. 205, 213 (1972) (“Providing

       public schools ranks at the very apex of the function of a State.”); Prince v.

       Massachusetts, 321 U.S. 158, 168 (1944) (“A democratic society rests, for its

       continuance, upon the healthy, well-rounded growth of young people into full

       maturity as citizens, with all that implies.”). The U.S. Supreme Court has also long

       affirmed the value in keeping schools free from discrimination, writing that “[f]ree

       public education, if faithful to the ideal of secular instruction and political neutrality,

       will not be partisan or enemy of any class, creed, party, or faction.” W. Va. State

       Bd. of Educ. v. Barnette, 319 U.S. 624, 637 (1943). Eliminating discrimination in

       publicly funded education both instills fundamental democratic values in all students

       and protects students from discriminatory practices—including bullying,

       harassment, exclusion from school, unfair discipline, or unequal treatment—that are

       antithetical to those democratic values.

             Adopting antidiscrimination laws also promotes diverse student bodies

       conducive to the communal educational experience. Diversity helps instill those

       “fundamental values . . . essential to a democratic society . . . includ[ing] tolerance

       of divergent political and religious views. . . .” Bethel Sch. Dist. No. 403 v. Fraser,

       478 U.S. 675, 681 (1986). The Supreme Court has acknowledged that when schools

       adopt and enforce antidiscrimination policies, they allow all students to participate,


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       in turn promoting the goals of education for all students. Christian Legal Soc’y

       Chapter of the Univ. of Cal., Hastings Coll. of the L. v. Martinez, 561 U.S. 661, 688

       (2010). Research bears this out and has shown that ethnic diversity in school makes

       students of color feel safer and less lonely, increases perceptions that teachers are

       treating students fairly and equally, and reduces the degree to which students prefer

       their own ethnic group relative to other groups. 9 There is no way for the State to

       further these goals if it grants broad exemptions to the perpetrators of discrimination,

       regardless of the grounds they cite to justify that discrimination.

             By contrast, permitting state-sponsored discrimination directly undermines

       the goals of public education, requiring the State to pay for a message that certain

       students and their families are not entitled to the same rights and respects as others.

       Public education is particularly vital to students of color, students with disabilities,

       and LGBTQ+ students, who depend on publicly funded schools at higher rates than

       their peers.10 Antidiscrimination protections for these vulnerable groups are crucial

       for student safety and educational achievement. Yet the logic Appellant advances

       in its effort to force Maine to provide public funding to schools that explicitly


       9
         Jaana Juvonen, et al., When and How Do Students Benefit From Ethnic Diversity
       in Middle School?, Nat’l Library of Medicine: Nat’l Center for Biotech. Info.
       (Jun. 20, 2017), available at https://pubmed.ncbi.nlm.nih.gov/28631304/.
       10
          See Office for Civil Rights, U.S. Dep’t of Educ., Civil Rights Data Collection:
       2020-2021 A First Look: Students’ Access to Educational Opportunities in U.S.
       Public Schools, https://www.ed.gov/sites/ed/files/about/offices/list/ocr/docs/crdc-
       educational-opportunities-report.pdf (last visited Oct. 30, 2024).

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       discriminate threatens a slippery slope of publicly funded discrimination against

       LGBTQ+ students, as well as other vulnerable and protected classes of students,

       such as students with disabilities, religious students, and students of color. Forcing

       Maine to issue wholesale exemptions from the MHRA’s neutral and generally

       applicable requirements to any religious school that objects to these requirements

       will lead to increased bullying and harassment of marginalized students, as well as

       subject them to discriminatory school admissions and disciplinary policies funded

       by the State. This is fundamentally inconsistent with Maine’s constitution and laws.

             1.     LGBTQ+ students

             LGBTQ+ students in particular are more likely to be bullied or harassed and

       report more anxiety and depression than students who do not identify as LGBTQ+.11

       That bullying and harassment is directly related to pervasive cultural stigma and

       negative stereotypes about their identity. 12 Private schools, including those in

       Maine, routinely use policies like dress codes to exclude students based on gender

       and gender identity. 13 Such discrimination is especially prevalent in religious


       11
          See supra, Me. Dep’t of Educ., LGBTQ+ Resources at Maine’s LGBTQ+ Youth
       Make Up A Significant Percentage of Students, https://bit.ly/3AIyuMI (finding that
       37% of Maine LGBTQ+ students were bullied and/or harassed on school property
       in 2019, compared to 21% of all students).
       12
          Id.
       13
          See, e.g., Religious private schools most segregated in U.S., Harvard Gazette (June
       25, 2002), https://bit.ly/3pGQGEW; Lisbon Falls Christian Academy, Student
       Handbook at 10 (updated Aug. 3, 2017), https://bit.ly/3mp4Jg3 (stating that the


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       private schools. 14 As one notable example, LGBTQ+ students at BCS, the very

       school at issue here, have reported instances of targeted harassment and bullying

       from administrators and teachers, including being threatened with expulsion unless

       they promised to hide their sexuality, offered conversion therapy, and told that they

       could not be both Christian and gay.15


       school “supports the emphasis of the Christian home in matters of modesty of dress,
       hair styles, and good grooming.”); Hartland Christian Academy, 2021-2022 School
       Handbook at 19, https://bit.ly/3molPKY.
       14
          See Julia Donheiser, Choice for most: In nation’s largest voucher program,
       $16 million went to schools with anti-LGBT policies, Chalkbeat (Aug. 10, 2017),
       available at https://www.chalkbeat.org/2017/8/10/21107318/choice-for-most-in-
       nation-s-largest-voucher-program-16-million-went-to-schools-with-anti-lgbt-
       polici/ (finding that one in 10 of Indiana’s voucher schools, receiving over
       $16 million in public funds in 2016, publicly shared a policy suggesting or declaring
       that LGBT students are not welcome); Lisbon Falls Christian Academy, supra, at 5;
       see also Greater Houlton Christian Academy, GHCA Family Handbook 2024-2025,
       https://www.ghca.com/images/forms_docs/2024-2025GHCAFamilyHandbook.pdf
       (“We also believe that any form of homosexuality, lesbianism, bisexuality, bestiality,
       incest, fornication, adultery and pornography are sinful perversions of God’s gift of
       sex. . . .”); Pine Tree Academy, Handbook at 8-9 (Sept. 10, 2021),
       https://bit.ly/3EuPoB4 (stating that the school “does not admit individuals who
       engage in sexual misconduct, which includes . . . homosexual conduct”); Open Door
       Christian Academy, 2024-2025 Student Handbook at 7 (2020), https://odbc-
       school.com/wp-content/uploads/2022/04/2024-2025-Student-Handbook-EDIT-
       1.pdf (“We believe that God disapproves of and forbids any attempt to alter one’s
       gender by surgery or appearance.”); Greater Portland Christian School, Greater
       Portland Christian School Catalog at 47, https://tinyurl.com/9dckj3tc (last visited
       Oct. 29, 2024) (stating that the school does not accept “children with current major
       learning difficulties (i.e., children who have been involved in special education
       programs) . . . . [or] major emotional problems”).
       15
          Katie Reilly and Madeleine Carlisle, The Supreme Court Could Let Religious
       Schools Take Taxpayer Money. LGBTQ Alumni Say That’s a Mistake, Time
       Magazine (Jan. 3, 2022), available at https://time.com/6129283/bangor-christian-
       schools-lgbtq-carson-makin/.

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             2.        Pregnant students

             Some private religious schools have also threatened to suspend or expel

       pregnant students protected under the MHRA for religious reasons. For example,

       one religious school in Maine states that “[p]ossible consequences” for student

       pregnancy include “suspension,” “expulsion,” or a requirement to complete all

       education from home, in which case the student must forfeit all leadership

       positions. 16     That policy not only violates the MHRA’s antidiscrimination

       requirements, which prohibit the “exclu[sion] [of] any person from any program or

       activity because of pregnancy or related conditions,” 5 M.R.S. § 4602(1)(C), but also

       undermines Maine’s constitutionally mandated duty to “make suitable provision . . .

       for the support and maintenance of public schools” for all children in the state.

       Maine Const. art. VIII, pt. 1, § 1.

             3.        Students with disabilities
             Granting town tuitioning schools exemptions to the MHRA such that they

       may discriminate against children and families on the basis of sexual orientation or

       gender identity also threatens to excuse—and even condone—publicly funded

       discrimination against and segregation of students with disabilities. The State is

       required to guarantee students with disabilities the opportunity to participate in all




       16
          Greater Houlton Christian Academy, supra, GHCA Family Handbook 2024-2025
       at 28.

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       educational programs without discrimination.17 Yet many private religious schools

       have a track record of overt discrimination against students with disabilities. See,

       e.g., Greater Portland Christian School, Greater Portland Christian School Catalog

       at 47 (stating that the school does not accept “children with current major learning

       difficulties (i.e., children who have been involved in special education programs) . .

       . . [or] major emotional problems”); Sanford Christian Academy, 2020-2021 Parent-

       Student Handbook at 3 (2020), available at https://bit.ly/3jMb7fL (last visited Oct.

       29, 2024) (“The academic programs at SCA are designed for average and above

       average students. No provisions are available for mentally handicapped children or

       children with severe learning or behavorial [sic] (IEP) disabilities”).

             4.     Religious students
             The MHRA’s antidiscrimination provisions aim to eradicate a form of

       discrimination even Appellant acknowledges has no place in publicly funded school

       systems—religious discrimination. Public education has long been a protected right

       for students of all religious backgrounds. While the U.S. Constitution’s Free

       Exercise Clause protects the ability of religious schools to educate in accordance


       17
          Individuals with Disabilities Education Act (“IDEA”), 20 U.S.C. § 1400. Maine
       is one of three states with the highest percentage of students receiving IDEA services
       of all 50 states in the 2022-23 school year. See National Center for Education
       Statistics, U.S. Dep’t of Educ., The Condition of Education 2024,
       https://nces.ed.gov/programs/coe/pdf/2024/CGG_508c.pdf (last visited Oct. 29,
       2024) (noting that 21% of public-school students in Maine receive services under
       the IDEA, the highest percentage in all 50 states).

                                                 14
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       with their faith, the Establishment Clause prohibits public schools from

       discriminating against students based on their religion. See U.S. Const. amend. I;

       Illinois ex rel. McCollum v. Bd. of Ed. of Sch. Dist. No. 71, 333 U.S. 203, 232 (1948)

       (invalidating practice of having religious instructors from different denominations

       enter public schools to offer religious lessons during the school day to students

       whose parents requested them); Santa Fe Indep. Sch. Dist. v. Doe, 530 U.S. 290, 312

       (2000) (finding student-led, student-initiated prayer at football games violates the

       Establishment Clause). Exempting certain religious schools from the MHRA thus

       paves the way for publicly funded discrimination against students of other religions.

              5.     Racially diverse students
              The exemption Appellant seeks from the MHRA for publicly funded religious

       schools also threatens to open the door to a long-rejected history of religiously

       motivated racial discrimination. One can imagine schools singling out students for

       scrutiny and disparate treatment simply because they are of a different race or ethnic

       background.18 The U.S. Supreme Court has categorically forbidden such conduct,

       see, e.g., Newman v. Piggie Park Enterprises, Inc., 390 U.S. 400, 402 n.5 (1968)


       18
         See, e.g., Berea Coll. v. Commonwealth, 94 S.W. 623, 626 (Ky. 1906), aff’d, 211
       U.S. 45 (1908) (upholding a law prohibiting integrated schools because “separation
       of the human family into races, distinguished . . . by color . . . is as certain as anything
       in nature” and is “divinely ordered”); see also W. Chester & Phila. R.R. v. Miles, 55
       Pa. 209, 209, 213 (1867) (justifying segregation on railroads because “the Creator”
       made two distinct races and “He intends that they shall not overstep the natural
       boundaries He has assigned to them”).

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       (per curiam), and backsliding on these principles must be diligently avoided. There

       is no denying this nation’s sordid history of racial discrimination in education.19

       Since Brown v. Board of Education, the United States has instituted broad legal

       protections against racial discrimination in schools, including Title VI of the Civil

       Rights Act, under which not only public schools but also private schools that accept

       federal funds are prohibited from discriminating on the basis of race, color, or

       national origin. 42 U.S.C. § 2000d et seq.

             The U.S. Supreme Court has likewise rejected arguments that religious rights

       trump the government’s interest in preventing racial discrimination. See Newman,

       390 U.S. at 402 n.5 (rejecting business owner’s constitutional challenge to the Civil

       Rights Act’s bar on racial discrimination in public accommodations based on his

       view that racial integration “contraven[ed] the will of God”); see also Masterpiece

       Cakeshop, Ltd. v. Colo. Civ. Rights Comm’n, 584 U.S. 617, 631 (2018) (citing

       Newman, 390 U.S. at 402 n. 5) (recognizing that “while . . . religious and

       philosophical objections are protected, it is a general rule that such objections do not

       allow [actors] in society to deny protected persons equal access to goods and services




       19
         See, e.g., Nat’l Museum of African American History and Culture, “The Struggle
       Against Segregated Education,” https://nmaahc.si.edu/explore/stories/struggle-
       against-segregated-education (last visited Aug. 7, 2024).

                                                 16
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       under a neutral and generally applicable public accommodations law”).20

               In the education context, the Court has stated unambiguously that even

       assuming “parents have a right to send their children to schools that promote the

       belief that racial segregation is desirable, and that the children have a right to attend

       such schools, it does not follow that the Practice of excluding racial minorities from

       such schools is also protected by the same principle.” Runyon v. McCrary, 427 U.S.

       160, 161 (1976) (emphasis added); see also Bob Jones Univ. v. United States, 461

       U.S. 574, 604 (1983) (rejecting private, federally funded university’s challenge to

       the denial of tax-exempt status for violating prohibition on racial discrimination

       based on the university’s religious conviction that the Scriptures forbid interracial

       dating and marriage).

               In Masterpiece Cakeshop, the Court understood that broad exceptions to

       antidiscrimination laws would result “in a community-wide stigma inconsistent with

       the history and dynamics of civil rights laws that ensure equal access to goods,

       services, and public accommodations.” 584 U.S. at 632. The same principle applies

       here:    adopting Appellant’s reasoning threatens to thrust society back into a


       20
         Unlike the situation in 303 Creative LLC v. Elenis, here, Appellant is not being
       compelled to speak or promote views inconsistent with their religious commitments.
       600 U.S. 570, 595 (2023). In this instance, there is no arrangement between private
       parties. Instead, Maine is the purchaser of an essential service (e.g., public education)
       that it is constitutionally obligated to provide for its citizens. Maine not only can,
       but must be able to, set reasonable limits on the types of education it will pay for to
       fulfill this constitutional duty.

                                                  17
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       long-rejected era of racial discrimination in schools justified by religion. See Berea

       Coll., 94 S.W. at 626 (upholding a law prohibiting integrated schools because

       “separation of the human family into races, distinguished . . . by color . . . is as certain

       as anything in nature” and is “divinely ordered”); see also W. Chester & Phila. R.R.,

       55 Pa. at 213 (justifying segregation on railroads because “the Creator” made two

       distinct races and “He intends that they shall not overstep the natural boundaries He

       has assigned to them”).

                                              *       *      *

              Permitting Maine’s town tuitioning schools to discriminate against children

       and families on the basis of sexual orientation or gender identity is not only abhorrent

       in and of itself, it is also just the tip of the iceberg; the logic used to excuse it threatens

       a slippery slope of publicly funded discrimination and segregation against other

       vulnerable groups of students. The MHRA’s prohibitions against discrimination are

       engineered to prevent this precise backsliding and to ensure the protection of all

       students receiving a publicly funded education. Critically, no school is obligated to

       participate in the tuitioning program. But if a school does desire to participate, it

       must comply with the program’s nondiscrimination requirements.                    To permit

       anything else would defeat the very purpose of the tuitioning program, which is to

       provide a publicly funded education to Maine students that allows each of them to

       participate fully in school and prepares them to participate fully in society. The


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       danger of allowing the exemptions requested here is particularly apparent given the

       increasingly visible demands by some religious organizations not to treat certain

       individuals with the rights and respect that the State otherwise requires them to

       receive.21

             II.     Conditioning Public Funds on Compliance with Nondiscrimination
                     Standards Is Proper.

             A.      The MHRA’s Antidiscrimination Provisions Satisfy the Rational
                     Basis Standard Because They Are Neutral and Generally
                     Applicable
             It is well established that states have the power to condition public funding on

       compliance with neutral, generally applicable nondiscrimination requirements. See

       Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531 (1993)

       (citing Emp. Div., Dep.t of Human Res. of Or. v. Smith, 494 U.S. 872 (1990),

       superseded by statute as stated in Ramirez v. Collier, 595 U.S. 411, 424 (2022));

       City of Boerne v. Flores, 521 U.S. 507, 514 (1997) (“[N]eutral, generally applicable

       laws may be applied to religious practices even when not supported by a compelling

       governmental interest.”), superseded by statute as stated in Ramirez v. Collier, 595

       U.S. at 424. These neutral and generally applicable nondiscrimination requirements

       are particularly appropriate where the government makes public funds available to




       21
         See, e.g., Public Religion Research Institute, Increasing Support for Religiously
       Based Service Refusals (Jul. 25, 2019), https://www.prri.org/research/increasing-
       support-for-religiously-based-service-refusals/.

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       provide a core government function, such as K-12 education.

              Just as a state may constitutionally condition tuition assistance on a private

       institution meeting curriculum standards, as Maine and other states do,22 it may also

       require   compliance    with   neutral, generally     applicable    nondiscrimination

       requirements. Indeed, the federal government and the states have long required that

       publicly funded programs not discriminate on the basis of race, color, national

       origin, sex, religion, disability, age, and in many cases, sexual orientation and

       identity. See, e.g., 42 U.S.C. § 2000d (Title VI, § 601 of the Civil Rights Act of

       1964, prohibiting discrimination on the basis of race, color, and national origin in

       programs and activities receiving federal financial assistance); 20 U.S.C. §§ 1681–

       1688 (Title IX, prohibiting sex-based discrimination in any school or any education

       program that receives federal funds); Exec. Order No. 12250, 45 Fed. Reg. 72995

       (Nov. 4, 1980) (providing for the consistent and effective implementation of various

       laws prohibiting discriminatory practices on the basis of race, color, national origin,

       sex, disability, or religion in programs and activities receiving federal financial

       assistance); Appellant’s Opening Brief, 17 (discussing Maine’s prohibition on

       public funding of private schools that discriminate on the basis of sexual orientation

       in hiring).



        See 20-A M.R.S. §§ 2901(2), 2902, 4704, 6209; see also, e.g., Ohio Rev. Code
       22

       Ann. §§ 3301.16, 3310, 3313; La. Stat. Ann. §§ 17:4011, 4013, 4021.

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             States cannot apply nondiscrimination conditions unevenly, such as allowing

       exceptions for secular but not religious reasons. See Fulton v. City of Philadelphia,

       593 U.S. 522, 542 (2021). But governments are not required to compromise their

       “weighty” interest in ensuring that the benefits of public funds are available on an

       equal basis. See id.

             The MHRA’s antidiscrimination provisions are facially neutral. They do not

       target religious practice, nor are they motivated by religious animus. Moreover, the

       provisions are generally applicable. They apply to all schools that receive public

       funding from the State, without exception. 23 Every K-12 school that receives public

       funds—whether public or private, religious or not—is prohibited from

       discriminating on the basis of sex, sexual orientation or gender identity, physical or

       mental disability, ancestry, national origin, race, color, or religion. See P.L. 2021,

       ch. 366, § 19. Simply put, a religious school that discriminates would receive the

       same treatment as a secular private school that discriminates.             Accordingly,

       Appellant’s suggestion that the MHRA’s antidiscrimination provisions cannot be

       neutral are directly controverted by the law’s plain language. Although Appellant

       suggests the MHRA perpetuates religious discrimination, Appellant’s Br. at 29, its

       provisions in fact explicitly prohibit discrimination based on religion. See 5 M.R.S.


       23
         As discussed, the MHRA provisions are generally applicable even if they do not
       apply to schools outside Maine or to private in-state postsecondary schools. See
       supra n.6; Appellees’ Br. at 23-24, 43-44.

                                                21
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       § 4601. Moreover, given the posture of this case, a pre-enforcement challenge to

       the application of nondiscrimination requirements that Appellant fears may someday

       prevent it from an unspecified exercise of religious faith, the ruling Appellant seeks

       would effectively create a blanket exemption from the MHRA for any school for any

       religious purpose.

             Appellant’s attempts to liken this case to Carson v. Makin are inapposite. In

       Carson, the Supreme Court held that “there is nothing neutral about” wholly barring

       religious schools from the receipt of publicly funded tuition payments. 596 U.S. at

       781. In so holding, the Court emphasized that “the Free Exercise Clause forbids

       discrimination on the basis of religious status.” Id. at 787. But here, unlike in

       Carson, religious schools can receive and are receiving public funds from the State

       for the purpose of providing religious education for students. BCS’s religious

       identity or practice is not what prevents it from receiving public funds; it is BCS’s

       insistence on both receiving public funds and discriminating that precludes it from

       participating in the program. Indeed, if a school “objects to a condition on the receipt

       of federal funding, its recourse is to decline the funds. This remains true when the

       objection is that a condition may affect the [school’s] exercise of its First

       Amendment rights.” AID v. Alliance for Open Soc’y Int’l, Inc., 570 U.S. 205, 214

       (2013).

             The MHRA does not burden, even incidentally, Crosspoint’s religious


                                                 22
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       practices in violation of the Free Exercise Clause. 24 Even if it did, Appellant’s

       suggestion that incidental effects on its exercise of religion render the MHRA’s

       antidiscrimination provisions unconstitutional is contrary to binding precedent.

       “When a religiously neutral and generally applicable law incidentally burdens free

       exercise rights, [this Circuit] will sustain the law against constitutional challenge if

       it is rationally related to a legitimate governmental interest.” Does 1-6 v. Mills, 16

       F.4th 20, 29 (1st Cir. 2021) (citing Fulton, 141 S. Ct. at 1876); see also Church of

       Lukumi Babalu Aye, Inc., 508 U.S. at 531. Importantly, a burden on religious

       expression (incidental or not) is not in and of itself cause to render a law

       unconstitutional. See, e.g., Bowen v. Roy, 476 U.S. 693, 702 (1986); Bob Jones

       Univ., 461 U.S. at 603.

             While private schools are entitled to hold values inconsistent with a state’s

       antidiscrimination laws, they are not entitled to the government’s financial

       assistance in discrimination. See Rust v. Sullivan, 500 U.S. 173, 193 (1991) (“[A]

       legislature’s decision not to subsidize the exercise of a fundamental right does not

       infringe the right.” (alteration in original and citation omitted)). The public funds

       that support the tuitioning program are collected from all citizens, without regard to



       24
          As Appellees make clear, Crosspoint is still free to teach however it likes,
       including by instilling its religious beliefs in its students. Appellant’s argument that
       the presence of a child who is gay, transgender, or who otherwise does not share its
       religious beliefs would burden its religious exercise strains credulity.

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       race, national origin, religion, sex, disability, sexual orientation, or gender identity.

       Maine has a legitimate interest in ensuring those funds are made available to

       constituents free from discrimination. See Church of Lukumi Babalu Aye, Inc., 508

       U.S. at 535. And the State has more than a legitimate interest in fulfilling the state

       constitutional duty of providing education that is open and accessible to all. See

       supra Section I; Me. Const. art. VIII, pt. 1, § 1; Donahoe v. Richards, 38 Me. 379,

       390 (1854). In short, Maine properly exercises its powers when it restricts the receipt

       of public funding for education to those schools that comply with the MHRA.

             B.     The MHRA’s Antidiscrimination Provisions Also Withstand Strict
                    Scrutiny.
             Even if this Court finds that the MHRA is not neutral or generally applicable,

       the law should still be upheld because it passes strict scrutiny.

             Maine’s interest in eliminating discrimination within publicly funded

       institutions is compelling. As demonstrated above, supra Section II.A, there can be

       no dispute that states have a compelling interest in eliminating discrimination. See

       also Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 592, 609 (1982) (finding

       states have a “substantial interest” in protecting their citizens from “the political,

       social, and moral damage of discrimination”); Roberts v. U.S. Jaycees, 468 U.S. 609,

       624 (1984) (eliminating discrimination “plainly services compelling state interests

       of the highest order”). Indeed, states have an even greater interest in ensuring that

       publicly funded institutions do not discriminate. See City of Richmond v. J.A.


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       Croson Co., 488 U.S. 469, 492 (1989) (“It is beyond dispute that any public entity,

       state or federal, has a compelling interest in assuring that public dollars, drawn from

       the tax contributions of all citizens, do not serve to finance the evil of private

       prejudice.”); Norwood v. Harrison, 413 U.S. 455, 463 (1973) (“That the Constitution

       may compel toleration of private discrimination in some circumstances does not

       mean that it requires state support for such discrimination.”).

             Moreover, Maine has a compelling interest, under the education clause of the

       state constitution, Me. Const. art. VIII, pt. 1, §1, in ensuring that all children receive

       an adequate education. Blount v. Dep’t of Educ. & Cultural Servs., 551 A.2d 1377,

       1382 (Me. 1988). An essential component of the State’s affirmative constitutional

       duty is the guarantee that the education options it provides are open to all children.

       Donahoe, 38 Me. at 390 (“[U]nder our constitution, every child has a right to receive

       instruction at the public schools; . . . every parent has a right to have his child there

       taught.”). Thus, the nondiscrimination requirements in the MHRA further Maine’s

       compelling interest to provide publicly funded education to all students.25

             The Supreme Court’s decision in Bob Jones University is instructive. There,


       25
          If Appellant succeeds, some students, including students of certain identities, will
       have few to no public education options, particularly if they live in rural areas where
       they might only have access to public education at private institutions approved to
       receive state funds through Maine’s “town tuitioning” program. As outlined above,
       forcing students of certain identities to be subject to discriminatory practices in order
       to access education will cause irreparable harm to those students. See supra Section
       I.B.

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       private religious universities challenged an IRS policy that made private schools

       with racially discriminatory admissions policies ineligible for tax-exempt status. In

       so doing, the universities argued that their racially discriminatory policies qualified

       as protected free exercise based on sincerely held religious beliefs, not unlike the

       Petitioner in this case. See 461 U.S. at 579-585, 602-03. But the Supreme Court

       rejected the religious college’s challenge, finding that the government had a

       “compelling,” “fundamental,” and “overriding” interest in eliminating racial

       discrimination in education. Id. at 604.26

             The MHRA is also narrowly tailored. Its antidiscrimination provisions do not

       apply to religious schools that do not accept public funds. 5 M.R.S. § 4602(5)(C).

       And, as noted above, private religious schools are not barred from the tuitioning

       program due to religious status nor prohibited from engaging in religious activity.

       They are only ineligible for the program if they insist on discriminating against

       students in violation of the MHRA. See id. Simply put, the antidiscrimination

       provisions are narrowly tailored because they are written to encompass

       discriminatory conduct within the confines of participation in state funded programs,

       and nothing more. See Bob Jones Univ., 461 U.S. at 604 (finding “no less restrictive

       means are available” to eradicate discrimination in education than denying tax


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         Because Bob Jones University was decided before Brown, the Court applied strict
       scrutiny. Today, the IRS ruling would likely be upheld as a neutral law of general
       applicability.

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       benefits (internal citation omitted)).

             Accordingly, even if this Court does not consider the MHRA neutral or

       generally applicable, this Court should still uphold the MHRA under a strict scrutiny

       standard.

                                          CONCLUSION
             For the foregoing reasons, the District Court’s judgment should be affirmed.

       DATED: October 30, 2024                       Respectfully submitted,



                                                     By: /s/ Adam J. Hunt
                                                        Adam J. Hunt
                                                        250 West 55th Street
                                                        New York, NY 10019-9601
                                                        Telephone: 212.468.8000
                                                        Facsimile:    212.468.7900
                                                        AdamHunt@mofo.com

                                                           Counsel of Record for Amici Curiae




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                                          APPENDIX A

             Public Funds Public Schools (“PFPS”) is a national campaign to ensure

       that public funds for education are used to maintain, support, and strengthen public

       schools. PFPS opposes all forms of private school vouchers and other diversions

       of public funds to private education. PFPS is a partnership between Education

       Law Center (“ELC”) and the Southern Poverty Law Center (“SPLC”). ELC, based

       in Newark, New Jersey, is a nonprofit organization founded in 1973 that pursues

       justice and equity for public school students by enforcing their right to a high-

       quality education in safe, equitable, non-discriminatory, integrated, and well-

       funded learning environments. SPLC, based in Montgomery, Alabama, is a

       nonprofit civil rights organization founded in 1971 that serves as a catalyst for

       racial justice in the South and beyond, working to advance human rights. PFPS

       has participated as amicus curiae before numerous state and federal courts in

       matters involving issues similar to those presented in this case.

             The National Education Association (“NEA”) is the largest union in the

       country, which represents three million educators who serve our nation’s students

       in public schools, colleges, and universities. Since its founding over a century and

       a half ago, NEA has worked to create, expand and strengthen the quality of public

       education available to all children. NEA is committed to ensuring a strong public

       education system as the foundation of our vibrant, multiracial democracy.



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       Consistent with NEA’s commitment that public schools prepare every student to

       succeed in a diverse and interdependent world, NEA frequently appears as amicus

       in support of the rights of all students to fair treatment.

             The American Federation of Teachers (“AFT”), an affiliate of the AFL-

       CIO, was founded in 1916 and today represents 1.8 million members in more than

       3,500 local affiliates nationwide. Since its founding, the AFT has been a major

       force for America's democracy and for preserving and strengthening America’s

       commitment to public education and to educational opportunity for all. AFT’s K-

       12 members are committed to providing their students with the highest quality

       public education consistent with the standards set by the local, state, and federal

       government. AFT frequently submits amicus briefs in cases that directly impact

       public school education.

             The National School Boards Association (“NSBA”), founded in 1940, is a

       nonprofit organization ensuring that each student everywhere has access to

       excellent and equitable public education governed by high-performing school

       board leaders and supported by the community. NSBA regularly represents its

       members’ interests before Congress and federal courts and has participated as

       amicus curiae in numerous cases addressing public schools.

             American Atheists is a national civil rights organization dedicated to

       equality for atheists and other nonreligious people. We protect the rights of


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       atheists, advance social inclusion, and empower nonreligious people through

       advocacy, education, and community building. American Atheists defends the

       right of every student to receive a secular public education and seeks to end

       discrimination and stigma against nonreligious students.

             The Council of Parent Attorneys and Advocates (“COPAA”) is a

       nonprofit organization for parents of children with disabilities, their attorneys, and

       their advocates. COPAA believes that effective educational programs for children

       with disabilities can be developed and implemented only with collaboration

       between parents and educators. To make this happen, COPAA provides resources,

       training, and information to help parents, advocates, and attorneys get the free

       appropriate public education to which the law guarantees children with disabilities.

             Disability Rights Maine (“DRM”) is the agency designated by the

       Governor of Maine under federal law to protect and advocate for the rights of

       individuals with disabilities in the State of Maine. DRM represents many students

       each year to enforce their rights to equal educational opportunity. As such, the

       population we represent has a direct interest in what is at stake in this case—a

       request by a school receiving federal funding to be exempt from laws prohibiting

       discrimination, including discrimination based on disability.

             The Freedom From Religion Foundation (“FFRF”) is a nationally

       recognized 501(c)(3) nonprofit with the purposes to educate the public about


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       nontheism and to preserve the constitutional principle of separation between

       religion and government. FFRF has about 40,000 U.S. members, including more

       than 200 members in Maine and a Maine chapter. As a secular organization that

       promotes freedom of conscience for those who do not practice religion, FFRF

       opposes the erosion of our secular public education systems and preferential

       treatment of religious organizations by the government.

             In the Public Interest (“ITPI”), founded in 2010, is a project of

       PowerSwitch Action (a 501(C)(3) nonprofit organization) that focuses on

       strengthening, protecting and expanding access to broad array of public

       goods. ITPI conducts research and develops policy ideas to ensure public control

       over important public goods and services. ITPI also advocates for creating high

       quality, equitable, public education system that is available for every child in the

       country and that is an essential bedrock of a healthy democracy. ITPI has

       produced a wide-ranging series of studies, briefs and fact sheets on how school

       vouchers create obstacles to achieving those goals.

             The Network for Public Education (“NPE”) is a nonprofit advocacy group

       whose mission is to preserve, promote, improve and strengthen public schools for

       both current and future generations of students. We have 350,000 members and

       coordinate more than 200 Grassroots groups. We resist the expansion of publicly-

       funded alternatives that divert funding and students from our public schools;


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       believe all publicly funded schools must include all students; and strongly oppose

       all discrimination in school entry requirements, regardless of rationale.

             Pastors for Children is a nationwide network of faith leaders and

       community partners dedicated to school service and fair and equitable public

       school funding. Pastors for Children believes that that God desires a quality

       education for every child. Pastors for Children also believes we must keep

       government out of our fine private and church schools.




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                            CERTIFICATE OF COMPLIANCE

             I certify that his brief complies with the type-volume limitation of Rule

       29(a)(5) and 32(a)(7)(B) of the Federal Rules of Appellate Procedure because it

       contains 6355 words, excluding the parts of the brief exempted by Rule 32(f).   I

       further certify that this brief complies with the typeface requirements of Rule

       32(a)(5)(A) and the type-style requirements of Rule 32(a)(6) because it has been

       prepared using Microsoft Word Version 16.88 in 14-point Times New Roman font,

       a proportionally spaced typeface.



       DATED:      October 30, 2024
                                                       /s/ Adam J. Hunt
                                                      Adam J. Hunt
                                                      250 West 55th Street
                                                      New York, NY 10019-9601
                                                      Telephone: 212.468.8000
                                                      Facsimile:   212.468.7900
                                                      AdamHunt@mofo.com

                                                      Counsel of Record for Amicus Curiae




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                                CERTIFICATE OF SERVICE

             I hereby certify that I electronically filed the foregoing with the Clerk of the

       Court for the United States Court of Appeals for the First Circuit by using the

       appellate CM/ECF system on October 30, 2024.

             I hereby certify that all participants in the case are registered CM/ECF users

       and that services will be accomplished by the appellate CM/ECF system.


       DATED:      October 30, 2024                     /s/ Adam J. Hunt
                                                       Adam J. Hunt
                                                       250 West 55th Street
                                                       New York, NY 10019-9601
                                                       Telephone: 212.468.8000
                                                       Facsimile:    212.468.7900
                                                       AdamHunt@mofo.com

                                                       Counsel of Record for Amicus Curiae




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